Case 16-69381-sms   Doc 64   Filed 12/30/20 Entered 12/30/20 11:52:51       Desc Main
                             Document     Page 1 of 3




  IT IS ORDERED as set forth below:



  Date: December 30, 2020
                                               _________________________________

                                                          Sage M. Sigler
                                                   U.S. Bankruptcy Court Judge

 ________________________________________________________________




                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

   IN RE:   LANDON B. DICKERSON         }   CHAPTER 13
            TERRI L. DICKERSON,         }
                                        }   CASE NO. A16-69381-SMS
            DEBTOR(S)                   }
                                        }   JUDGE SIGLER

     CONSENT ORDER VACATING ORDER RE-CONVERTING CHAPTER 13 CASE
                            TO CHAPTER 7

        The Chapter 13 Trustee’s Motion for Reconsideration of

   Order Re-Converting Case to Chapter 7 being filed on December

   29, 2020 and the parties having entered into an agreement to the

   Motion on the following terms, it is hereby

        ORDERED that the Trustee’s Motion is GRANTED:                    The Order

   Re-Converting Chapter 13 case to Chapter 7 dated December 23,

   2020 is VACATED.
Case 16-69381-sms   Doc 64   Filed 12/30/20 Entered 12/30/20 11:52:51   Desc Main
                             Document     Page 2 of 3




        The Clerk of Court is directed to reinstate this case and

   shall serve a copy of this Order on all parties appearing on the

   attached Distribution List.

                                END OF DOCUMENT

   Order Presented By:


               /s/
   Albert C. Guthrie, Staff Attorney
   Mary Ida Townson
   Standing Chapter 13 Trustee
   GA Bar No.: 142399
   285 Peachtree Center Ave., NE, Suite 1600
   Atlanta, GA 30303
   404-525-1110; albertg@atlch13tt.com


   Consented To By:


               /s/
   B. Glen Johnson, Attorney for the Debtors
   GA Bar No.: 392250
   Signed w/express permission by Albert C. Guthrie
   Glen Johnson, LLC
   181 E. Main Street
   Canton, GA 30114
   770-956-1400; glen@bgjlawfirm.com
Case 16-69381-sms   Doc 64   Filed 12/30/20 Entered 12/30/20 11:52:51   Desc Main
                             Document     Page 3 of 3




                               DISTRIBUTION LIST

                    All parties on the Mailing Matrix.
